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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LESLIE RICHARDSON                               §
                                                §
VS.                                             §                          5:19-cv-473
                                                                     C.A.NO.________
                                                §
WALMART STORES TEXAS, LLC                       §
d/b/a WALMART #01313                            §                         JURY DEMANDED

             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441

TO THE CLERK OF THE ABOVE ENTITLED COURT:

       Please take notice that Defendant, Walmart Stores Texas, LLC d/b/a Walmart 401313,

hereby removes to the Court the state action described below.

       1.     On April 2; 2019, a civil action was commenced, in the County Court at Law

Number 10 of Bexar County, Texas, entitled Leslie Richardson v. Walmart Stores Texas, LLC

d/b/a Walmart #01313, Cause No. 2019CV03060. A copy of Plaintiff's Original Petition is

attached hereto as Exhibit A.

       2.      Service of summons and complaint was made on Defendant, Walmart Stores

Texas, LLC d/b/a Walmart #01313 by process server on April 12, 2019. Defendant, Walmart

Stores Texas, LLC d/b/a Walmart #01313 first received a copy of said Petition on April 18, 2019.

A copy of the Citation is attached hereto as Exhibit B.

       3.      Defendant, Walmart Stores Texas, LLC d/b/a Walmart #01313 has filed an

Original Answer, which is attached as Exhibit C, a Demand for Jury Trial, which is attached as

Exhibit D and a Notice of Filing of Removal to Federal Court, attached as Exhibit E. Defendant,

Walmart Stores Texas, LLC d/b/a Walmart #01313 has attached all process, pleadings, and orders

in the State Court action as required by 28 U.S.C. 1446(a).
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                                JURISDICTION AND VENUE

       4.     The action is a civil action of which this Court has original jurisdiction under Title

28 U.S.C. § 1332 (Diversity Jurisdiction), and is one which may be removed to this Court pursuant

to Title 28 U.S.C. § 1441. There is complete diversity of citizenship amongst the parties.

Defendant, Walmart Stores Texas, LLC d/b/a Walmart #01313 is a limited liability company

formed under the laws of Delaware, with its principal place of business in Arkansas. The sole

member of Walmart Stores Texas, LLC d/b/a Walmart #01313 is Wal-Mart Real Estate Business

Trust. Wal-Mart Real Estate Business Trust is a Delaware statutory trust with its principal place

of business in Arkansas. The sole unit holder of Wal-Mart Real Estate Business Trust is Wal-Mart

Property Co. which is a wholly owned subsidiary of Wal-Mart Stores East, LP. Wal-Mart Property

Co. is a corporation formed under the laws of the State of Delaware with its principal place of

business in the State of Arkansas. Wal-Mart Stores East, LP is a Delaware limited partnership, of

which WSE Management, LLC is the general partner, and WSE Investment, LLC is the limited

partner. WSE Management, LLC is a Delaware limited liability company, and has its principal

place in Bentonville, Arkansas. WSE Investment, LLC is a Delaware limited liability company,

and has its principal place in Bentonville, Arkansas. The sole member of WSE Management,

LLC and WSE Investment, LLC is Wal-Mart Stores East, LLC. (f/k/a Wal-Mart Stores East, Inc.),

whose parent company is Walmart Inc. (f/k/a Wal-Mart Stores, Inc.). Wal-Mart Stores East, LLC

is a limited liability company formed under the laws of the State of Arkansas, and has its principal

place of business in the State of Arkansas. The sole member of Wal-Mart Stores East, LLC is

Walmart Inc. (f/k/a Wal-Mart Stores, Inc.). Plaintiff is a Texas citizen, with her residence in

Bexar County, Texas.

        5.     The amount in controversy exceeds the sum of Seventy-five Thousand Dollars

($75,000.00), exclusive of interest and costs. Seepage 2 of Plaintiff's Original Petition.

        14.    Venue is proper in the Western District of Texas, San Antonio Division because
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this District and Division embrace the place in which the action is pending.

                                             Dated: May 6, 2019

                                             Respectfully submitted,

                                             Daw& Ray
                                             A Limited Liability Partnership

                                               is! Wi (lie (Ben Daw, III
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                                             5718 Westheimer, Suite 1400
                                             Houston, Texas 77057
                                             (713) 266-3121 Telephone
                                             (713) 266-3188 Facsimile



                                CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and correct copy of the above and
foregoing instrument has been served upon all known counsel of record, including but not limited
to the below, by electronic service on this 6th day of May, 2019.

Henry Ridgeway                                                 Email: hr(lihenryridgeway1aw.com
HENRY RIDGEWAY, ATTORNEY AT LAW
6838 San Pedro Avenue
San Antonio, Texas 78216

                                             /s! Willie (Ben Daw, III
                                             Willie Ben Daw, III
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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LESLIE RICHARDSON                           §
                                            §
VS.                                         §              C.A.NO. 5:19-cv-473
                                            §
WALMART STORES TEXAS, LLC                   §
d/b/a WALMART #01313                        §                  JURY DEMANDED

            INDEX OF DOCUMENTS FILED WITH REMOVAL ACTION


      (A)   Plaintiffs Original Petition

      (B)   Citation

      (C)   Defendant's Original Answer

      (D)   Defendant's Demand for Jury Trial

      (E)   Notice of Filing of Removal to Federal Court

      (F)   List of Counsel of Record
